Case 1:23-cv-00001-TSK-MJA Document 50 Filed 01/20/23 Page 1 of 3 PageID #: 23


            IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 Unites States ex rel Joesph Seikel and
 Terence Seikel,

             Plaintiff(s),

                v.                           (CIVIL)(CRIMINAL)
                                             Civil             NO: 1:23-cv-00001-TSK
 David B. Alvarez, et al.,                   Criminal


            Defendant(s).


                  APPLICATION FOR ADMISSION PRO HAC VICE

         I verify that I have fully complied with Local Rule of General Practice and Procedure 83.02
as it relates to admission to practice pro hac vice.

 Andrew M. Miller                                Plaintiffs Joseph Seikel and Terence Seikel
         Applicant’s Name                                   Representing (Party Name)
                                                  600 New Hampshire Ave. NW, 10th Floor,
 Baron & Budd, PC                                 Washington, DC 20037
      Name of Applicant’s Firm                               Applicant’s Office Address

 202-333-4562                                     (202) 337-1039
    Applicant’s Office Telephone Number                    Applicant’s Office Fax Number

 _____________________________________________
 amiller@baronbudd.com
             Applicant’s Email Address

Bar number where admitted, with name, address, and telephone of State Bars where admitted:
Bar # and State:
Disctrict of Columbia; 901 4th Street, NW Washington, D.C. 20001; 202.737.4700 (Bar # 499298; ad
Texas; 1414 Colorado Street Austin, TX 78701; 512.427.1463 (Bar # 24041483; admitted 11/06/2003)


List all matters before West Virginia tribunals or judicial bodies in which the applicant is or has been
involved in the preceding twenty-four (24) months:

 None other than the above-captioned case.



      PROVIDE ATTACHMENT WITH ADDITIONAL INFORMATION IF NECESSARY
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 All matters before West Virginia tribunals or judicial bodies in which any member of applicant’s
 firm, partnership or corporation is or has been involved in the preceding twenty-four (24) months:
  City of Huntington, West Virginia et al v. AmerisourceBergen Drug Corporation et al, No. 3:17-cv-0136
  Cabell County Commission v. AmerisourceBergen Drug Corporation et al, No. 3:17-cv-01665 (S.D.W.

      PROVIDE ATTACHMENT WITH ADDITIONAL INFORMATION IF NECESSARY

        I understand that admission to practice pro hac vice will result in my registration in the Case
Management/Electronic Case Filing system. By this registration, I agree to abide by the
requirements set forth in the Federal Rules, Federal Statutes and the Local Rules, Administrative
Orders, procedures and policies of the United States District Court for the Northern District of West
Virginia. (See https://racerweb.wvnd.uscourts.gov for further information).
        I understand that attorneys admitted pro hac vice will have privileges to view official docket
sheets and documents associated with cases and query case reports for cases on the CM/ECF system
using the Court-assigned                   login and password, and that I must submit all filings
electronically through local counsel. Registration constitutes my consent to service by electronic
means pursuant to the Federal Rules.
        I certify that I have:
        1) Submitted with this application the requisite fee of Two-Hundred Dollars ($200.00) payable
        to the Clerk of the Court of the United States District Court for the Northern District of West
        Virginia, and
        2) Paid to the West Virginia State Bar the West Virginia State Bar pro hac vice fee pursuant
        to Rule 8.0 of the Rules of Admission for the West Virginia State Bar.
        I certify that the foregoing application is true and correct. I hereby represent that I am a
member in good standing with the bar of every jurisdiction in which I am admitted and my privileges
to practice law and my membership in any bar association have never been amended, modified,
suspended, revoked or otherwise limited in any way in any court, district, state, commonwealth or
other jurisdiction. I also certify that I have never been convicted of a felony. I agree to comply with
all laws, rules, and regulations of the United States Courts where applicable.

       If unable to make the above representation, please attach an explanation.


 Anthony J. Majestro, Esq.
  Name of Responsible Local Attorney                      Signature of Applicant

304-346-2889                                   Baron & Budd, P.C.
Office Local Attorney Telephone Number             Name of Responsible Attorney’s Firm

___________________________________
amajestro@powellmajestro.com          600 New Hampshire Ave. NW, 10th Floor, Washington, DC 20
 Responsible Attorney’s Email Address      Responsible Attorney’s Office Address

        Pursuant to Local Rule of General Practice and Procedure 83.02, I have read the foregoing
application and, by my endorsement hereon, agree to be a responsible local attorney in the above-
styled matter. I certify that I am an active member in good standing of the West Virginia Bar and
that I maintain an actual office in West Virginia from which I practice law on a daily basis. I hereby
verify that the attorney moving for pro hac vice admission is a member of the bar or bars listed on
page 1 of this application.




                                                      Signature of Responsible Local Attorney
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           IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 Unites States ex rel Joesph Seikel and
 Terence Seikel,

            Plaintiff(s),

                v.                      (CIVIL)(CRIMINAL)
                                        Civil             NO: 1:23-cv-00001-TSK
 David B. Alvarez, et al.,              Criminal


           Defendant(s).




                                       ORDER


       Upon consideration of the foregoing Application for Admission Pro Hac Vice of
_________________________________________,
Andrew   M. Miller                                     it is ORDERED that the Application for
Admission Pro Hac Vice be, nd the same is hereby, APPROVED and that the applicant may
appear pro hac vice in this matter on behalf of the represented party.


       ENTER:



                                                        United States District Judge
